                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION
UNITED STATES OF AMERICA,                          )
                                                   )
               Plaintiff,                          )
                                                   )
       v.                                          )      No. 21-03027-01-CR-S-RK
                                                   )
GARY T. KRUITBOSCH,                                )
also known as Taylor,                              )
also known as Nigel S. McCartney,                  )
                                                   )
               Defendant.                          )
                                            ORDER

       Before the Court is the Motion to Amend Defendant’s Name in the Case Caption. (Doc.

31.) Defendant moves for an order changing the case caption from “United States of America v.

Gary T. Kruitbosch” to “United States of America v. Taylor.” Defendant also requests an order

directing the United States Marshal’s Office to reflect this change in its records related to

Defendant’s detention.

       The Government has filed a Response, agreeing to the relief requested in part, but asking

that the caption be changed to “United States of America v. Taylor, also known as ‘Gary T.

Kruitbosch,’ also known as ‘Nigel S. McCartney’” and that each count refer to Defendant as

“TAYLOR, also known as ‘Gary T. Kruitbosch’ and ‘Nigel S. McCartney.’”               (Doc. 35.)

Defendant did not file any reply suggestions.

       Upon review, the motion is GRANTED IN PART. The case caption of the Indictment

shall be amended as follows:

       UNITED STATES OF AMERICA, Plaintiff, v. TAYLOR, also known as “Gary T.
       Kruitbosch,” also known as “Nigel S. McCartney” [DOB: 07/26/1954].




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Also, each count in the Indictment shall be amended to refer to Defendant as “TAYLOR, also

known as ‘Gary T. Kruitbosch’ and ‘Nigel S. McCartney.’”                Lastly, the United States

Marshal’s Office shall update their records to reflect these changes.

       IT IS SO ORDERED.

                                                     /s/ David P. Rush
                                                     DAVID P. RUSH
                                                     UNITED STATES MAGISTRATE JUDGE

DATE: November 17, 2021




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